     Case 2:20-cv-11411-FMO-JPR Document 16 Filed 04/26/21 Page 1 of 1 Page ID #:48




1

2

3

4

5

6

7

8                                      UNITED STATES DISTRICT COURT

9                                 CENTRAL DISTRICT OF CALIFORNIA

10

11    BARRY FRIEDMAN,                            )   Case No. CV 20-11411 FMO (JPRx)
                                                 )
12                        Plaintiff,             )
                                                 )
13                 v.                            )   JUDGMENT
                                                 )
14    EARLY WARNING SERVICES, LLC,               )
                                                 )
15                        Defendant.             )
                                                 )
16

17          IT IS ADJUDGED THAT the above-captioned action is dismissed without prejudice.

18    Dated this 26th day of April, 2021.

19

20                                                                       /s/
                                                                Fernando M. Olguin
21                                                           United States District Judge

22

23

24

25

26

27

28
